ABELMANN ROLLINS LLLC

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Attorneys for Debtors VICTORINO B. DADIZ, SR.
and EVANGELINE P. DADIZ

              IN THE UNITED STATES BANKRUPTCY COURT

                       FOR THE DISTRICT OF HAWAII

In re                       )               CASE NO. 13-00248
                            )               (Chapter 13)
VICTORINO B. DADIZ, SR. and )
EVANGELINE P. DADIZ,        )               MOTION TO APPROVE
                            )               LOAN MODIFICATION;
                            )               DECLARATION IN
                            )               SUPPORT OF MOTION;
                            )               EXHIBIT “A”
                            )
         Debtors.           )
                            )               Date:        October 11, 2013
                            )               Time:        9:30 am
____________________________)               Judge:       Hon. Robert J. Faris

               MOTION TO APPROVE LOAN MODIFICATION

        COME NOW VICTORINO B. DADIZ SR. and EVANGELINE P. DADIZ

("Debtors"), by and through their attorneys, Abelmann Rollins LLLC, and

respectfully file this Motion to Approve Loan Modification requesting the court to

approve the terms of the attached loan modification.



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 1. Debtors filed their Chapter 13 petition and plan on February 19, 2013.

 2. Debtors premised their Chapter 13 petition and plan upon completion of a

     successful loan modification which would eliminate arrears and reduce the

     monthly payments on their first mortgage.

 3. Such loan modification has now been proposed by creditor IndyMac

     Mortgage Services, a division of OneWest Bank, FSB (“IMS”) and is

     attached hereto as Exhibit “A”.

 4. The mortgage is currently paid directly by the Debtors.

 5. The current mortgage payment is $2,884.00/month at an interest rate of

     6.2500%. There is an arrearage in the amount of $10,568.08 indicated in

     Proof of Claim No. 7 filed by OneWest Bank, FSB.

 6. The details of the proposed loan modification are as follows: Debtors’

     arrearages, unpaid and deferred interest, fees, escrow advances and other

     costs will be added to the principal of the loan. The new principal balance

     will be $349,509.81. Payments on the mortgage will be an initial $987.57 on

     September 1, 2013 with an interest rate of 2.000%. On September 1, 2018

     payments will increase to $1,147.32 a month with an interest rate of 3.000%.

     On September 1, 2019 payments will increase to $1,315.96 a month with an

     interest rate of 4.000%. On September 1, 2020 payments will increase to

     $1,380.76 with an interest rate of 4.37500% and continue until the maturity


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      date on September 1, 2053.

   7. Debtors request an order from this court requiring IMS to amend its Proof of

      Claim to reflect the elimination of the arrearage and the terms indicated in

      the proposed loan modification agreement.

   8. Upon entry of the order approving this loan modification, Debtors will

      amend their Chapter 13 plan and schedules as necessary to reflect the terms

      of the loan modification agreement.



      WHEREFORE, Debtors respectfully request that this Court:

A. Approve the attached loan modification;

B. Order IMS to amend its proof of claim consistent with the loan modification;

C. Order IMS to account for any disbursements received from the Debtors’

   bankruptcy estate from the Chapter 13 Trustee; and

D. Such other and further relief as it deems necessary.

       DATED:      Honolulu, Hawaii, September 10, 2013.

                                             ABELMANN ROLLINS LLLC

                                             /s/ W. Richard Abelmann
                                             W. Richard Abelmann
                                             Attorneys for Debtor VICTORINO B.
                                             DADIZ, SR. and EVANGELINE P.
                                             DADIZ




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and EVANGELINE P. DADIZ

                IN THE UNITED STATES BANKRUPTCY COURT

                         FOR THE DISTRICT OF HAWAII

In re                       )                   CASE NO. 13-00248
                            )                   (Chapter 13)
VICTORINO B. DADIZ, SR. and )
EVANGELINE P. DADIZ,        )                   DECLARATION OF W.
                            )                   ABELMANN; EXHIBIT “A”
               Debtors.     )
                            )
                            )                   Date:        October 11, 2013
                            )                   Time:        9:30 a.m.
____________________________)                   Judge:       Hon. Robert J. Faris

         DECLARATION OF W. RICHARD ABELMANN; EXHIBIT “A”

        The undersigned does hereby declare under penalty of perjury that the

foregoing is true and correct to the best of my knowledge, information and belief:

        1. I am an attorney with Abelmann Rollins LLLC, counsel for Debtors

           Victorino B. Dadiz Sr. and Evangeline P. Dadiz.

        2. I make this declaration upon personal knowledge, unless otherwise

           indicated, and am competent to testify as to all matters stated in this
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        declaration.

     3. Attached hereto as Exhibit “A” is a true and correct copy of a LOAN

        MODIFICATION AGREEMENT dated July 8, 2013 sent by IndyMac

        Mortgage Services, a division of OneWest Bank, FSB for the attention of

        Debtors Victorino B. Dadiz Sr. and Evangeline P. Dadiz.

     DATED:      Honolulu, Hawaii, September 10, 2013.



                                          ABELMANN ROLLINS LLLC

                                          /s/ W. Richard Abelmann
                                          W. Richard Abelmann
                                          Attorneys for Debtors VICTORINO B.
                                          DADIZ, SR. and EVANGELINE P.
                                          DADIZ




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  EXHIBIT “A”




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